       Case 4:18-cv-00251-JRH-JEG Document 16 Filed 11/20/18 Page 1 of 3



                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIA
                                      SAVANNAH DIVISION

 ALTAMAHA RIVERKEEPER and ONE
 HUNDRED MILES

         Plaintiffs,

         v.                                           Docket No. 4:18-cv-00251-JRH-JEG

 THE UNITED STATES ARMY CORPS OF
 ENGINEERS et al.,

         Defendants.


   RESPONSE TO SEA ISLAND ACQUISITION, LLC’s MOTION TO INTERVENE


       As conveyed to Sea Island Acquisition, LLC’s counsel, Plaintiffs do not object to Sea

Island’s intervention in the case. Sea Island has a clear interest in the case and Plaintiffs do not

dispute that the company is entitled to be involved in the resolution of this matter.

       Plaintiffs have a Motion for Preliminary Injunction pending, however, and Sea Island’s

counsel has told Plaintiffs that work is well underway on the project that Plaintiffs seek to enjoin.

As a result, Plaintiffs indicated to Sea Island’s counsel verbally and in writing on November 13

that Sea Island may state to the Court that “Plaintiffs consent to Sea Island’s Motion to Intervene

so long as Sea Island’s intervention would not delay the briefing of the Plaintiffs’ Motion for

Preliminary Injunction.” Plaintiffs believed that this approach would ensure that Sea Island could

intervene as quickly as possible, but at the same time not slow down the existing briefing

schedule and allow further time for construction of the project. Understanding that Sea Island

desired to be heard on Plaintiffs’ Motion for Preliminary Injunction, Plaintiffs suggested that Sea

Island include a proposed response with its Motion to Intervene so that all responses would be

submitted by the November 19 deadline. In the alternative, Plaintiffs told Sea Island that they
                                                  1
         Case 4:18-cv-00251-JRH-JEG Document 16 Filed 11/20/18 Page 2 of 3



would agree to an extension to the briefing schedule if Sea Island would halt ongoing work on

the project during the extension period, which they would not.

         Plaintiffs believe these options were more than reasonable. Anticipating that Sea Island

might seek to intervene, Plaintiffs emailed Sea Island a courtesy copy of the Complaint and

Motion for Preliminary Injunction on October 31, five days before the Defendants received

service by certified mail. In other words, Sea Island has known about Plaintiffs’ Complaint and

Motion for Preliminary Injunction for well over two weeks—more than the amount of time

allotted for a response under the Local Rules. They now seek even more time, allowing them to

continue construction of the project under the guise of a briefing extension. The Court should not

allow such gamesmanship.

         Plaintiffs therefore submit this response to indicate that they consent to Sea Island’s

Motion to Intervene and object to Sea Island’s Motion for an Extension of Time, and to request

that the Court not consider any response submitted after November 19, 2018, the original

deadline for Defendants to respond to Plaintiffs’ Motion. If Sea Island wanted to respond, they

should have submitted a response by the deadline like the Government Defendants were required

to do.




                                                   2
      Case 4:18-cv-00251-JRH-JEG Document 16 Filed 11/20/18 Page 3 of 3



       Respectfully submitted this 20th day of November, 2018.

                                                    SOUTHERN ENVIRONMENTAL
                                                    LAW CENTER

                                                    /s/ William W. Sapp
                                                    William W. Sapp
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                                                    Counsel for Plaintiffs

                               CERTIFICATE OF SERVICE

       I certify that on November 20, 2018, I electronically filed the foregoing Response to Sea

Island Acquisition, LLC’s Motion to Intervene with the Clerk of Court using the CM/ECF

system.


                                                /s/ William W. Sapp




                                               3
